                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   ALLEGHENY CLINIC,                             : CIVIL ACTION
                                                 :
                Plaintiff,                       : No.: 2:19-cv-00517-MJH
                                                 :
          v.                                     :
                                                 :
   TOTAL WELLNESS PSYCHIATRY,                    :
   PLLC,                                         : Electronically Filed and Served
                                                 :
                Defendant.                       :



               ORDER GRANTING MOTION FOR ENTRY OF JUDGMENT

       AND NOW, this 6th day of October, 2021, came Allegheny Clinic (“AC”), and moved

the Court for entry of judgment on its July 10, 2019 Order, which dismissed Dr. Audrey Longson

from this case. The Court ordered Defendant Dr. Longson to respond to Plaintiff's Motion (ECF

No. 73), but she failed to file a response. The Court has reviewed and considered the entire

record of this case and finds that no party will be prejudiced by permitting AC to appeal the

Court’s July 10, 2019 order at this time; and that the efficiencies weigh in favor of permitting AC

to appeal at this time where there is no just reason for delay. Therefore, AC’s motion is hereby

GRANTED.

       The Clerk to is hereby ORDERED to enter a final judgment on AC’s claims against Dr.

Audrey Longson consistent with the Court’s July 10, 2019 Order.

       The Clerk is directed to send certified copies of this Order to all counsel of record.

         October 6, 2021
ENTERED:_________________

                                                 BY THE COURT.



                                                 ____________________________________J.
